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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 AMERICAN FEDERATION OF
 GOVERNMENT EMPLOYEES, AFL-
 CIO,

                     Plaintiff,
                                                                  No. 1:18-cv-1230 (FYP)
            v.

 EUGENE HUDSON, JR., et al.,

                     Defendants.


                                                    ORDER

        This matter comes before the Court upon consideration of Defendant Eugene Hudson’s

Motion for Judgment on the Pleadings, see ECF No. 92, Plaintiff’s Motion to Strike the same

and for sanctions, see ECF No. 96, Defendant’s Memorandum in Opposition to the Motion to

Strike, see ECF No. 98, and Defendant’s Cross-Motion for Sanctions, see ECF No. 99. For the

reasons herein, the Court grants Plaintiff’s Motion to Strike Defendant’s Motion for Judgment on

the Pleadings. In addition, the Court grants Plaintiff’s request for sanctions and directs Plaintiff

to file an affidavit of attorney’s fees and costs incurred in responding to Defendant’s Motion for

Judgment on the Pleadings. The Court denies Defendant’s Cross-Motion for Sanctions.

   I.            Defendant’s Motion for Judgment on the Pleadings

        Plaintiff filed this case on May 25, 2018. After years of litigation and extensive

discovery, the parties attended a pre-motion conference on April 25, 2022. The parties agreed to

a summary judgment briefing schedule. 1 At the pre-motion conference, the Court made clear




        1
            Briefing on Plaintiff’s Motion for Summary Judgment, see ECF No. 72, has now been completed.
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that it would not allow Defendant to file a cross-motion for summary judgment, because he had

not sought a pre-motion conference. See ECF No. 70 (Transcript of April 25 Hearing) at 21.

When Defendant’s counsel stated that she intended to file a separate motion to dismiss, see id. at

21–22, the Court determined that all remaining issues instead should be addressed in the briefing

on Plaintiff’s summary judgment motion. See id. at 25 (“All right. So I think, Ms. Morten,

given that this is all related and it can be decided all within the summary judgment briefing, we

should just do it all within the summary judgment briefing. . . . So let’s just do [it] all within the

summary judgment briefing. It will be more orderly.”).

       On July 20, 2022, Defendant filed a Motion for Judgment on the Pleadings pursuant to

Rule 12(c) of the Federal Rules of Civil Procedure. See Def. Mot. Although a Rule 12(c)

motion bears some similarity to a Rule 12(b)(6) motion to dismiss for failure to state a claim,

there are important differences between the two. See Murphy v. Dep’t of Air Force, 326 F.R.D.

47, 48–50 (D.D.C. 2018).

           [U]nlike a Rule 12(b)(6) motion, a Rule 12(c) motion asks the court to
           render “a judgment on the merits . . . by looking at the substance of the
           pleadings and any judicially noted facts.” All. of Artists & Recording
           Cos., Inc. v. Gen. Motors Co., 162 F. Supp. 3d 8, 16 (D.D.C. 2016)
           (internal quotation marks and citation omitted). Thus, a Rule 12(c) motion
           requires the court to consider and decide the merits of the case, on the
           assumption that the pleadings demonstrate that there are no meaningful
           disputes as to the facts such that the complaint's claims are ripe to be
           resolved at this very early stage in the litigation.

Id. at 49. In short, a Rule 12(c) motion seeks to resolve a case on the merits — much like a

motion for summary judgment. And indeed, upon a review of Defendant’s 12(c) motion, the

Court detects no argument that Defendant could not have made while briefing a summary

judgment motion — if he had been permitted to submit one.
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          Thus, although Defendant is technically correct that a Rule 12(c) motion can be filed

“[a]fter the pleadings are closed — but early enough not to delay trial,” see Fed. R. Civ. P. 12(c),

the point of such a motion is to “provide[] judicial resolution at an early stage of a case.” Dist.

No. 1, Pac. Coast Dist., Marine Eng’rs Beneficial Ass’n v. Liberty Mar. Corp., 933 F.3d 751,

760 (D.C. Cir. 2019) (emphasis added). Here, we are not at an early stage of the case, and the

Court ruled that Defendant would not be permitted to file a summary judgment motion because

he did not follow the appropriate procedure set forth in the Court’s Standing Order. Where the

door of summary judgment is closed, Rule 12(c) does not open a window to obtain the same

merits outcome. Moreover, the Court directed Defendant to raise any issues he wished to bring

to the Court’s attention in the briefing on Plaintiff’s summary judgment motion. Under the

circumstances, the Rule 12(c) motion was not properly filed; and it will be stricken.

    II.      Sanctions

          The parties have filed cross-motions for sanctions arising out of Defendant’s Rule 12(c)

motion. See Pl.’s Mot. to Strike at 5–6; Def.’s Cross-Mot. for Sanctions. 2 The Court concludes

that Plaintiff’s motion for sanctions should be granted, and that Defendant’s motion for sanctions

should be denied.

          28 U.S.C. § 1927 provides that an attorney “who so multiplies the proceedings in any

case unreasonably and vexatiously may be required by the Court to satisfy personally the excess

costs, expenses, and attorneys’ fees reasonably incurred because of such conduct.” See 28

U.S.C. § 1927. “To qualify as unreasonable and vexatious behavior, there must be evidence of




          2
            Plaintiff’s Motion for Sanctions is contained within its motion to strike Defendant’s Rule 12(c) motion.
See Pl.’s Mot. to Strike at 5–6. Technically, a Rule 11 “motion for sanctions must be made separately from any
other motion.” See Fed. R. Civ. P. 11(c)(2). Thus, to the extent that Plaintiff’s request for sanctions is based on
Rule 11, it is deficient. However, the Court agrees with Plaintiff that 28 U.S.C. § 1927, and the Court’s inherent
authority provide a sufficient basis for an award of sanctions.
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recklessness, bad faith, or improper motive present in the attorney’s conduct.” See Hall v. Dep’t

of Homeland Sec., 219 F. Supp. 3d 112, 119 (D.D.C. 2016) (cleaned up).

       In addition to the authority granted by § 1927, the Court possesses “inherent authority to

impose sanctions necessary to achieve the orderly and expeditious disposition of cases before it.”

See id. (citing Chambers v. NASCO, Inc., 501 U.S. 32, 46–47 (1991)). “Actions that ‘evince[]

bad faith or an egregious disrespect for the Court or judicial process’ may garner sanctions,

including contempt citations, fines, awards of attorney fees, and such other orders and sanctions

as the court finds necessary.” See id. (alteration in original) (quoting Ransmeier v. Mariani, 718

F.3d 64, 68 (2d Cir. 2013)).

       The Court does not lightly award attorney’s fees as a sanction. But the Court finds that

Defendant’s filing of a Rule 12(c) motion under the present circumstances has “multiplie[d] the

proceedings in [this] case unreasonably and vexatiously,” see 28 U.S.C. § 1927, and has

demonstrated bad faith and disrespect for the Court’s Scheduling Order and the judicial process.

The Court plainly informed Defendant’s counsel that she would not be permitted to file a motion

for summary judgment or a motion to dismiss, and that she should brief any remaining issues in

the context of litigating Plaintiff’s motion for summary judgment. Defendant sought to evade

the Court’s ruling by filing the Rule 12(c) motion, which forced Plaintiff and the Court to expend

time and resources to address that vexatious motion. Thus, under both § 1927 and the Court’s

inherent authority, the Court concludes that Defendant should be sanctioned and assessed the

fees and costs incurred by Plaintiff in responding to Defendant’s Rule 12(c) motion. The Court

also concludes that Defendant’s Cross-Motion for Sanctions is meritless and must be denied.

       Accordingly, it is hereby
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        ORDERED that Defendant’s Rule 12(c) Motion for Judgment on the Pleadings is

stricken; and it is further

        ORDERED that Plaintiff’s Motion for Sanctions is granted, and that Defendant’s

counsel shall pay the attorney’s fees and costs incurred by Plaintiff in responding to Defendant’s

Motion for Judgment on the Pleadings; and it is further

        ORDERED that Defendant’s Cross-Motion for Sanctions is denied; and it is further

        ORDERED that Plaintiff submit an affidavit detailing the attorney’s fees and costs

incurred in responding to the Motion for Judgment on the Pleadings by September 2, 2022.

        SO ORDERED.




                                             FLORENCE Y. PAN
                                             United States District Judge

Date: August 4, 2022
